761 F.2d 529
    56 A.F.T.R.2d 85-5125, 85-1 USTC  P 9434
    Sharon FRANKLET, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Dinah BACHRACH, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.John McCHESNEY-YOUNG and Ann L. McChesney-Young, Plaintiffs-Appellants,v.UNITED STATES of America, Defendant-Appellee.Kolya M. BRAUN, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Mary McKENNA, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.James T. AYERS, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Judith L. KAPLAN, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Timothy A. PEARCE, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Betty WINKLER, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Peter C. BREWER and Faith J. Brewer, Plaintiffs-Appellants,v.UNITED STATES of America, Defendant-Appellee.Eugene A. WIENS, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    Nos. 84-1745 to 84-1752, 84-2022 to 84-2024.
    United States Court of Appeals,Ninth Circuit.
    Argued and Submitted April 9, 1985.Decided May 21, 1985.
    
      Rocky N. Unruh, San Francisco, Cal., for plaintiffs-appellants.
      Elaine F. Ferris, Dept. of Justice, Washington, D.C., for defendant-appellee.
      Appeal from the United States District Court for the Northern District of California;  William W Schwarzer and Thelton E. Henderson, District Judges.
      OPINION
      Before HALL and WIGGINS, Circuit Judges, and SMITH,* District Judge.
      PER CURIAM:
    
    
      1
      In these eleven cases, which were consolidated for this hearing, the appellants all filed income tax returns making claims for war tax credits or deductions.  The Internal Revenue Service penalized the appellants for filing "frivolous" income tax returns (26 U.S.C. Sec. 6702) for the year 1982.  Appellants challenged the assessments in the District Court for the Northern District of California.  Judgments in favor of the United States were entered in all cases. For the reasons stated in the opinion in Franklet v. United States, 578 F.Supp. 1552 (N.D.Cal.1984),1 we affirm the judgments.
    
    
      2
      We note that, since the decision in Franklet, similar results have been reached in Wall v. United States, 756 F.2d 52 (8th Cir.1985);  Kahn v. United States, 753 F.2d 1208 (3d Cir.1985);  and Welch v. United States, 750 F.2d 1101 (1st Cir.1985).   See also Jenney v. United States, 755 F.2d 1384 (9th Cir.1985).
    
    
      
        *
         The Honorable Russell E. Smith, Senior United States District Judge for the District of Montana, sitting by designation
      
      
        1
         One opinion was written to decide eight of the cases which had been consolidated.  Another judge, relying on the opinion in Franklet, entered judgment in the three remaining cases, which also had been consolidated
      
    
    